                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-612

                                       No. COA20-696

                                  Filed 16 November 2021

     Forsyth County, No. 20 CVS 951

     JOSEPH CRYAN, SAMUEL CRYAN, KERRY HELTON, THOMAS HOLE, RICKEY
     HUFFMAN, JOSEPH PEREZ, JOSHUA SIZEMORE, DUSTIN SPRINKLE, and
     MICHAEL TAYLOR, Plaintiffs,
              v.

     NATIONAL COUNCIL OF YOUNG MEN’S CHRISTIAN ASSOCIATIONS OF THE
     UNITED STATES OF AMERICA; YOUNG MEN’S CHRISTIAN ASSOCIATION OF
     NORTHWEST NORTH CAROLINA d/b/a KERNERSVILLE FAMILY YMCA and
     MICHAEL TODD PEGRAM, Respondent.


           Appeal by respondent from order entered 22 July 2020 by the Honorable

     Richard S. Gottlieb in Forsyth County Superior Court. Heard in the Court of Appeals

     26 May 2021.


           Lanier Law Group, P.A., by Donald S. Higley, II, for Petitioner-Appellee.

           Nelson Mullins Riley &amp; Scarborough LLP, by Lorin J. Lapidus, for Respondent-
           Appellant.


           GORE, Judge.


¶1         The claims in the present matter arise from acts of sexual abuse by Defendant

     Pegram, while he was employed by the YMCA, on Plaintiffs, who were minors at the



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     time of the abuse. The last act of sexual abuse by Pegram occurred approximately

     twenty years ago.

¶2         Based on Plaintiffs’ allegations, all claims became time-barred in 2015 under

     the then-applicable statute of limitations. The youngest Plaintiff turned 18 years of

     age in 2005. The longest limitations period for any of the claims was ten years.

     Accordingly, all claims in this action became time-barred by 2015.

¶3         Four years later, though, in 2019, our General Assembly enacted Section 1-

     17(e), which allows a person who was a victim of sexual abuse when (s)he was a minor

     to bring an action for claims “related to [the] sexual abuse” “within two years of the

     date of a criminal conviction” of the perpetrator of the sexual abuse. N.C. Gen. Stat.

     § 1-17(e) (2020). Here, the Complaint alleges that the perpetrator, Defendant

     Pegram, was convicted of various sex offenses. Defendant challenges the

     constitutionality of Section 1-17(e) which was enacted in 2019.        And Plaintiffs

     commenced their previous time-barred claims in 2020, within two years of Pegram’s

     conviction pursuant to Section 1-17(e).

                             I. Factual &amp; Procedural Background

¶4         This is a case in which multiple victims allege they were sexually assaulted by

     Michael Todd Pegram (“Pegram”) while he worked as an employee of Defendant-

     Appellant Young Men’s Christian Association of Northwest North Carolina d/b/a

     Kernersville Family YMCA (“YMCA” or “Defendant”). In 2019, Pegram was convicted
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     for those crimes. On 14 February 2020, Plaintiffs-Appellees Joseph Cryan, Samuel

     Cryan, Kerry Helton, Thomas Hole, Rickey Huffman, Joseph Perez, and Michael

     Taylor (collectively, “Plaintiffs”) filed a complaint seeking compensatory and punitive

     damages from Defendant for assault, battery, negligent hiring retention and

     supervision of Pegram, negligent infliction of emotional distress, and intentional

     infliction of emotional distress.

¶5         On 1 June 2020, Defendant filed a motion to dismiss pursuant to Rule 12(b)(6)

     of the North Carolina Rules of Civil Procedure on the basis that Plaintiffs’ claims are

     time barred because the North Carolina General Assembly’s amendments to N.C.

     Gen. Stat. § 1-17(e) (2019) and N.C. Gen. Stat. § 1-52(5), (16) and (19) (2019)

     (collectively “2019 amendments”) were in violation of the North Carolina

     Constitution. See SAFE Child Act, N.C. Session Law 2019-245, S.B. 199 (2019). N.C.

     Gen. Stat. § 1-17(e) states:

                  (e) Notwithstanding the provisions of subsections (a), (b),
                  (c), and (d) of this section, a plaintiff may file a civil action
                  within two years of the date of a criminal conviction for a
                  related felony sexual offense against a defendant for claims
                  related to sexual abuse suffered while the plaintiff was
                  under 18 years of age.

     N.C. Gen. Stat. § 1-17(e).

¶6         On 18 June 2020, Plaintiffs filed a motion pursuant to N.C. R. Civ. P. 42(b)(4)

     and N.C. Gen. Stat. § 1-267.1(a1) to transfer Defendant’s motion to dismiss to the
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     Wake County Superior Court for the appointment of a three-judge panel to determine

     the constitutionality of the amendments. N.C. Gen. Stat. § 1-267.1(a1) states:

                  (a1) Except as otherwise provided in subsection (a) of this
                  section, any facial challenge to the validity of an act of the
                  General Assembly shall be transferred pursuant to G.S.
                  1A-1, Rule 42(b)(4), to the Superior Court of Wake County
                  and shall be heard and determined by a three-judge panel
                  of the Superior Court of Wake County, organized as
                  provided by subsection (b2) of this section.

¶7         N.C. Gen. Stat. § 1-267.1(a1) (2019). N.C. R. Civ. P. 42(b)(4) further provides:

                  (b) Separate trials
                  ...
                  (4) Pursuant to G.S. 1-267.1, any facial challenge to the
                  validity of an act of the General Assembly, other than a
                  challenge to plans apportioning or redistricting State
                  legislative or congressional districts, shall be heard by a
                  three-judge panel in the Superior Court of Wake County if
                  a claimant raises such a challenge in the claimant’s
                  complaint or amended complaint in any court in this State,
                  or if such a challenge is raised by the defendant in the
                  defendant’s answer, responsive pleading, or within 30 days
                  of filing the defendant’s answer or responsive pleading. In
                  that event, the court shall, on its own motion, transfer that
                  portion of the action challenging the validity of the act of
                  the General Assembly to the Superior Court of Wake
                  County for resolution by a three-judge panel if, after all
                  other matters in the action have been resolved, a
                  determination as to the facial validity of an act of the
                  General Assembly must be made in order to completely
                  resolve any matters in the case. The court in which the
                  action originated shall maintain jurisdiction over all
                  matters other than the challenge to the act’s facial validity.
                  For a motion filed under Rule 11 or Rule 12(b)(1) through
                  (7), the original court shall rule on the motion, however, it
                  may decline to rule on a motion that is based solely upon
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                  Rule 12(b)(6). If the original court declines to rule on a Rule
                  12(b)(6) motion, the motion shall be decided by the three-
                  judge panel. The original court shall stay all matters that
                  are contingent upon the outcome of the challenge to the
                  act’s facial validity pending a ruling on that challenge and
                  until all appeal rights are exhausted. Once the three-judge
                  panel has ruled and all appeal rights have been exhausted,
                  the matter shall be transferred or remanded to the three-
                  judge panel or the trial court in which the action originated
                  for resolution of any outstanding matters, as appropriate.

     N.C. R. Civ. P. 42(b)(4) (2019) (emphasis added).

¶8         Defendant’s motion to dismiss, as well as Plaintiffs’ motion to transfer

     Defendant’s motion to dismiss to the three-judge panel in Wake County came on for

     hearing and oral argument on 17 July 2020 in Forsyth County Superior Court before

     the Honorable Richard S. Gottlieb. Because Defendant’s motion to dismiss was based

     solely upon Rule 12(b)(6), the trial court, declined to rule on the Rule 12(b)(6) motion,

     and granted Plaintiffs’ motion to transfer Defendant’s motion to dismiss to Wake

     County pursuant to N.C. R. Civ. P. 42(b)(4). The trial court entered an order

     transferring “the action” to the three-judge panel of the Wake County Superior Court

     on 21 July 2020, and issued an amended order entered 22 July 2020, correcting a

     typographical error.

¶9         On 17 August 2020, Defendant filed a notice of appeal. On 16 December 2020,

     Plaintiffs filed a motion to dismiss Defendant’s appeal, contending Defendant’s

     appeal is interlocutory and does not affect a substantial right. On 4 January 2021,
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       Plaintiffs’ motion to dismiss Defendant’s appeal was referred to this Panel. Also on

       4 January 2021, Defendant petitioned this Court to issue a writ of certiorari pursuant

       to Rule 21 of the North Carolina Rules of Appellate Procedure.

                                          II. Jurisdiction

                          A. Interlocutory Nature of Defendant’s Appeal

¶ 10         Defendant argues the trial court’s order granting Plaintiffs’ motion to transfer

       Defendant’s motion to dismiss (“trial court’s order”) changed the venue of the case.

       Defendant contends since the right to venue established by statute is a substantial

       right, Defendant’s appeal of the trial court’s order is jurisdictionally proper before

       this Court. Plaintiff contends Defendant’s appeal is interlocutory and should be

       dismissed by this Court.

¶ 11         “An order is interlocutory ‘if it does not determine the issues but directs some

       further proceeding preliminary to final decree.’” Waters v. Qualified Pers., Inc., 294

       N.C. 200, 207, 240 S.E.2d 338, 343 (1978) (quoting Greene v. Laboratories, Inc., 254

       N.C. 680, 693, 120 S.E. 2d 82, 91 (1961)). “As a general proposition, only final

       judgments, as opposed to interlocutory orders, may be appealed to the appellate

       courts.” Hamilton v. Mortg. Info. Servs., Inc., 212 N.C. App. 73, 77, 711 S.E.2d 185,

       188 (2011) (citations omitted). “Appeals from interlocutory orders are only available

       in exceptional circumstances.” Hamilton, 212 N.C. App. at 77, 711 S.E.2d at 188,

       (citation and internal quotations omitted). “The rule against interlocutory appeals
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       seeks to prevent fragmentary, premature and unnecessary appeals by allowing the

       trial court to bring a case to final judgment before its presentation to the appellate

       courts.” Turner v. Norfolk S. Corp., 137 N.C. App. 138, 141, 526 S.E.2d 666, 669
       (2000) (citing Waters v. Personnel, Inc., 294 N.C. 200, 240 S.E.2d 338 (1978)).

¶ 12         N.C. Gen. Stat. § 1-277(a) and N.C. Gen. Stat. § 7A-27(a)(3)a create an

       exception to the rule against interlocutory appeals for appeals challenging an

       interlocutory order affecting a “substantial right.” A substantial right is one which

       will clearly be lost if the order is not reviewed before final judgment, such that the

       normal course of procedure is inadequate to protect the substantial right affected by

       the order sought to be appealed. Blackwelder v. State Dep’t of Human Res., 60 N.C.

       App. 331, 335, 299 S.E.2d 777, 780-81 (1983). The North Carolina Supreme Court

       defines a substantial right as follows: “A legal right affecting or involving a matter of

       substance as distinguished from matter of form: a right materially affecting those

       interests which a man is entitled to have preserved and protected by law: a material

       right.” Oestreicher v. Am. Nat’l Stores Inc., 290 N.C. 118, 130, 225 S.E.2d 797, 805
       (1976) (adopting the definition found in Webster’s Third New Int’l Dictionary (1971).

¶ 13         Defendant is correct in its contention that the right to venue established by

       statute is a substantial right. See Gardner v. Gardner, 300 N.C. 715, 719, 268 S.E.2d

       468, 471 (1980) (“There can be no doubt that a right to venue established by statute

       is a substantial right . . . [and its] grant or denial is immediately appealable.”)
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       However, the order did not grant, deny, change, or otherwise affect venue, and

       therefore did not affect a substantial right. See La Falce v. Wolcott, 76 N.C. App. 565,

       569, 334 S.E.2d 236, 239 (1985). The order entered addressed and sought to resolve

       an issue of subject matter jurisdiction, not an issue of venue.

¶ 14         Subject matter jurisdiction and venue are two distinct legal principles. Subject

       matter jurisdiction has been defined as “[a] court’s power to decide a case or issue a

       decree.” In re M.I.W., 365 N.C. 374, 377, 722 S.E.2d 469, 472 (2012) (quoting Black’s

       Law Dictionary 654, 927 (9th ed. 2009)). Venue, on the other hand, concerns “the

       proper or a possible place for a lawsuit to proceed, usually because the place has some

       connection either with the events that gave rise to the lawsuit or with the plaintiff or

       defendant.” Stokes v. Stokes, 371 N.C. 770, 772, 821 S.E.2d 161, 163 (2018) (cleaned

       up) (quoting Black’s Law Dictionary (10th ed. 2014)).

¶ 15         Plaintiffs’ motion to transfer Defendant’s motion to dismiss was based on

       Plaintiffs’ contention the three-judge panel in Wake County Superior Court had the

       statutory right, pursuant to N.C. R. Civ. P. 42(b)(4), to decide the constitutional issue

       raised by Defendant, not on a contention Wake County was a preferable location in

       comparison to Forsyth County. See In re M.I.W., 365 N.C. at 377, 722 S.E.2d at 472;

       see also Stokes, 371 N.C. at 772, 821 S.E.2d at 163. The transcript reflects the word

       “venue” is used once by the trial court, specifically when acknowledging that only the

       constitutional issue would be transferred, and that venue for the action would remain
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       in Forsyth County. Though the trial court’s order stated the “action” was being

       transferred to the three-judge panel in Wake County Superior Court, the order

       reflects the venue would remain in Forsyth County. See Holdstock v. Duke Univ.

       Health Sys., 270 N.C. App. 267, 279, 841 S.E.2d 307, 316 (2020) (citation omitted)

       (holding when a trial court transfers a facial challenge to a three-judge panel

       pursuant to N.C. R. Civ. P. 42(b)(4), it “maintain[s] jurisdiction over all matters other

       than the challenge to the act’s facial validity”).

¶ 16         Based on the language of the trial court as reflected in the transcript and on

       the face of its order, as well as the definitions of both “venue” and “subject matter

       jurisdiction,” we conclude that the trial court order transferring Defendant’s motion

       to dismiss to a three-judge panel in Wake County Superior Court was entered in

       compliance with the subject matter jurisdiction conveyed upon the three-judge panel

       by the General Assembly. It does not give rise to establishing or depriving Defendant

       of a substantial right. The trial court retained venue of the case in Forsyth County.

       Therefore, the trial court’s order is not immediately reviewable, and Defendant’s

       appeal is interlocutory.

                           B. Defendant’s Petition for Writ of Certiorari

¶ 17         Under N.C.R. App. P. 21(a)(1), “a writ of certiorari will only be issued upon a

       showing of appropriate circumstances in a civil case where [inter alia] no right to

       appeal from an interlocutory order exists.” Stetser v. TAP Pharm. Prods. Inc., 165
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       N.C. App. 1, 12, 598 S.E.2d 570, 578-79 (2004). Consequently, “[i]t is an appropriate

       exercise of this Court’s discretion to issue a writ of certiorari in an interlocutory

       appeal where . . . there is merit to an appellant’s substantive arguments and it is in

       the interests of justice to treat an appeal as a petition for writ of certiorari.” Zaliagiris

       v. Zaliagiris, 164 N.C. App. 602, 606, 596 S.E.2d 285, 289 (2004). This Court has

       determined that such interests exist when the impact of the lawsuit is “significant,”

       the issues involved are “important,” and the case presents a need for the writ in the

       interest of the “efficient administration of justice,” or the granting of the writ would

       “promote judicial economy.” See Stetser 165 N.C. App. at 12, 598 S.E.2d at 578-79
       (granting review of a class action certification based on the “need for efficient

       administration of justice,” the “significance of the issues in dispute,” the “significant

       impact” of the lawsuit, the effect of the order on “numerous individuals and

       corporations” and the “substantial amount of potential liability” involved); see also

       Hill v. Stubhub, Inc., 219 N.C. App. 227, 232, 727 S.E.2d 550, 554 (2012) (granting

       review in order to “further the interests of justice”).

¶ 18          The issue Defendant raises on appeal presents the central question of what the

       appropriate requirements for a trial court are to transfer a case to be heard by a three-

       judge panel. Granting Defendant’s petition would afford this Court the opportunity

       to consider a relatively new statutory scheme which has limited jurisprudence

       surrounding it. In considering the issues raised by Defendant this Court will have
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       the opportunity to provide guidance and clarity to trial courts across North Carolina

       when evaluating the merits of a potential transfer of a case to a three-judge panel.

       For these reasons, we conclude that Defendant’s raised issue is “significant” and

       “important” and that granting the petition for writ of certiorari will “promote judicial

       economy” by providing trial courts with guidance on a novel and complex statutory

       scheme. See Stetser, 165 N.C. App. at 12, 598 S.E.2d at 578-79; see also Stubhub, 219

       N.C. App. at 232, 727 S.E.2d at 554.

                   C. Trial Court’s Finding Plaintiff Raised a Facial Challenge

¶ 19         In 2014 the North Carolina General Assembly implemented a statutory

       scheme which requires certain challenges to its acts be decided by a three-judge panel

       in the Superior Court of Wake County. See N.C. Gen. Stat. §§ 1-81.1 and 1-267.1.

       These statutes only apply to “facial challenges to the validity of an act of the General

       Assembly, not as applied challenges.” Holdstock v. Duke Univ. Health Sys., 270 N.C.

       App. at 271, 841 S.E.2d at 311 (2020) (cleaned up); N.C. Gen. Stat. § 1-267.1(a1).

       Under the North Carolina Rules of Civil Procedure, for a facial challenge to the

       validity of an act of the General Assembly to be transferred to a three-judge panel the

       facial challenge must be raised by a claimant in the claimant’s complaint or amended

       complaint or by the defendant in the defendant’s answer, responsive pleading, or

       within 30 days of filing the defendant’s answer or responsive pleading. N.C. Gen.

       Stat. § 1A-1, Rule 42(b)(4). If the facial challenge is properly raised, “the court shall,
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       on its own motion, transfer that portion of the action challenging the validity of the

       act of the General Assembly to the Superior Court of Wake County for resolution by

       a three-judge panel . . . .” Id.

¶ 20          In the case sub judice, the initial constitutional challenge was raised in

       Defendant’s 1 June 2020 motion to dismiss. However, Defendant specifically stated

       that they were arguing the General Assembly’s 2019 amendments                      “are

       unconstitutional only as applied to the Kernersville YMCA on the particular facts of

       this case . . . .” No mention of a facial challenge was made until Plaintiffs’ motion to

       transfer Defendant’s motion to dismiss to a three-judge panel. In their motion to

       transfer, the Plaintiffs’ asserted that Defendant was in fact making a facial challenge

       to the 2019 amendments. Following Plaintiffs’ motion to transfer, Defendant

       reaffirmed they were making an as applied challenge to the constitutionality of the

       2019 amendments by filing an amended motion to dismiss (which maintained the as

       applied language) and arguing before the trial court at the hearing on the motion to

       transfer that their challenge was an as applied challenge.

¶ 21          In its order transferring Defendant’s motion to dismiss to a three-judge panel,

       the trial court stated, “[u]nder the provisions of N.C. Gen. Stat. § 1-267.1 and N.C.

       Gen. Stat. § 1-1A, Rule 42(b)(4), because Plaintiff has asserted facial challenges to

       the constitutionality of acts of the North Carolina General Assembly, the challenges

       must be heard and determined by a three-judge panel of the Wake County Superior
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       Court.” However, we conclude that Plaintiffs did not make a facial challenge to the

       constitutionality of the 2019 amendments. In fact, Plaintiffs specifically stated they

       were not arguing the 2019 amendments were unconstitutional, only that Defendant’s

       challenge was in fact a facial challenge. Further, even if Plaintiffs had made a facial

       challenge, they did so in a motion to transfer, not in their complaint as required by

       Rule 42(b)(4). In fact, making any argument the 2019 amendments were

       unconstitutional would be in direct opposition to Plaintiffs’ claims before the trial

       court. As Defendant made clear they were only making an as applied challenge to the

       2019 amendments, and the trial court did not make a determination itself that

       Defendant’s constitutional challenges were in fact a facial challenge, no facial

       challenge was made in the time prescribed by Rule 42(b)(4) for a court to be able to

       transfer a facial challenge to a three-judge panel.

¶ 22          Defendant YMCA moved to dismiss all claims, clearly making an “as applied”

       challenge to Section 1-17(e).1 Defendant does not challenge the authority of the

       General Assembly to create disabilities as a means of extending the time during

       which a sufferer of sexual abuse may sue.             Rather, Defendant only challenges

       subsection (e)’s application to claims that had already become time-barred prior to its



       1 I note that Section 1-17(d) provides that a minor who suffers sexual abuse may sue a
       defendant for claims related to the sexual abuse has until (s)he turns 28 years of age to bring
       such action. Subsection (d) does not come into play in this present case as all Plaintiffs were
       over 28 years of age when the present action was commenced.
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       enactment in 2019. Indeed, our Supreme Court has held that “[a] right or remedy,

       once barred by a statute of limitations, may not be revived by an Act of the General

       Assembly. . . . But the Legislature may [only] extend at will the time within which a

       right may be asserted or a remedy invoked so long as it is not already barred by an

       existing statute.” Waldrop v. Hodges, 230 N.C. 370, 373, 53 S.E.2d 263, 265 (1949).

       See also Jewell v. Price, 264 N.C. 459, 461, 142 S.E.2d 1, 3 (1965).

¶ 23            While the trial court is free to transfer an action to a three-judge panel on its

       own motion based on a facial challenge to an act of the General Assembly, a trial

       court is not free to impute a facial challenge argument on a party. Nor is a trial court

       free to transfer a matter to a three-judge panel so that the three-judge panel may

       decide whether a facial challenge was raised. The plain language of the statutory

       scheme clearly provides that a party must affirmatively raise a facial challenge, and

       that facial challenge must be raised in either the claimant’s complaint/amended

       complaint or the defendant’s answer, responsive pleading, or within 30 days of the

       defendant’s answer or responsive pleading. N.C. Gen. Stat. §§ 1-81.1, 1-267.1, and 1-

       1A, Rule 42(b)(4). No such facial challenge was raised here. As a result, we conclude

       the trial court erred by transferring Defendant’s motion to dismiss to a three-judge

       panel.

                                             VI. Conclusion

¶ 24            We hold the trial court’s order transferring Defendant’s motion to dismiss to a
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       three-judge panel in Wake County Superior Court was an interlocutory order not

       affecting a substantial right. We also conclude that this case presents significant and

       important issues and grant Defendant’s petition for writ of certiorari in the interest

       of judicial economy. As a result, we necessarily deny Plaintiffs’ motion to dismiss

       Defendant’s appeal.

¶ 25         We hold neither party raised a facial challenge to the 2019 amendments and

       that the trial court erred by transferring Defendant’s motion to dismiss to a three-

       judge panel. Thus, we vacate and remand this matter to the trial court for further

       proceedings not inconsistent with this order.



             VACATE AND REMAND.

             Judge DILLON concurs.

             Judge CARPENTER dissents.
        No. COA20-696 – Cryan v. Nat’l Council of Young Men’s Christian Ass’n of the U.S.


              CARPENTER, Judge, dissenting.


¶ 26          Under N.C. R. App. P. 21(a)(1), “a writ of certiorari will only be issued upon a

       showing of appropriate circumstances in a civil case where [inter alia] no right to

       appeal from an interlocutory order exists.” Stetser v. TAP Pharm. Prods. Inc., 165

       N.C. App. 1, 12, 598 S.E.2d 570, 578-79 (2004). Consequently, “[i]t is an appropriate

       exercise of this Court’s discretion to issue a writ of certiorari in an interlocutory

       appeal where . . . there is merit to an appellant’s substantive arguments and it is in

       the interests of justice to treat an appeal as a petition for writ of certiorari.” Zaliagiris

       v. Zaliagiris, 164 N.C. App. 602, 606, 596 S.E.2d 285, 289 (2004). This Court has

       determined that such interests exist when the impact of the lawsuit is “significant,”

       the issues involved are “important,” and the case presents a need for the writ in the

       interests of the “efficient administration of justice,” or the granting of the writ would

       “promote judicial economy.” See Stetser 165 N.C. App. at 12, 598 S.E.2d at 578-79
       (granting review of a class action certification based on the “need for efficient

       administration of justice,” the “significance of the issues in dispute,” the “significant

       impact” of the lawsuit, the effect of the order on “numerous individuals and

       corporations” and the “substantial amount of potential liability” involved); see also

       Hill v. Stubhub, Inc., 219 N.C. App. 227, 232, 727 S.E.2d 550, 554 (2012) (granting

       review in order to “further the interests of justice”).

                                                      -1-
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                                      CARPENTER, J., dissenting



¶ 27         The issues Defendant raises on appeal present the central question of whether

       the constitutional challenge to N.C. Gen. Stat. § 1-17(e) should be heard by a three-

       judge panel or an individual judge in Forsyth County. Defendant is not asking this

       Court to decide the constitutionality of the statute—nor is this Court the proper place

       to do so.    Consequently, while Defendant’s raised issue is “significant” and

       “important” to the parties, it does not introduce a matter so pressing that the denial

       of Defendant’s petition would negatively affect the “efficient administration of justice”

       or work against our judicial economy. See Stetser, 165 N.C. App. at 12, 598 S.E.2d at

       578-79; see also Stubhub, 219 N.C. App. at 232, 727 S.E.2d at 554.

¶ 28         Rather, Defendant’s sub-issue—whether Defendant’s constitutional challenge

       is an as-applied or facial constitutional challenge—is a determination best made by

       the trial court and filtered through the statutory scheme prescribed by the

       legislature. See N.C. Gen. Stat. § 1-267.1 (2019). The trial court had the benefit of

       hearing arguments of counsel and receiving memoranda on the issues. Further, when

       the constitutional challenge is ultimately decided by the three-judge panel in Wake

       County Superior Court, the matter may be remanded back to the trial court upon any

       initial determination by the three-judge panel that it lacks jurisdiction to rule on the

       challenge because it is not a facial challenge. The legislature has contemplated and

       incorporated a de facto review of the initial determination of the trial judge by the

       appointed three judge panel. This Court’s grant of a petition for writ of certiorari to
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                                           2021-NCCOA-612

                                      CARPENTER, J., dissenting



       consider whether jurisdiction is proper with a three-judge panel in Wake County

       Superior Court based solely on Defendant’s assertion its constitutional challenge is

       “as-applied” shortcuts the statutory scheme prescribed by the legislature, would be

       an inappropriate circumvention of the process, and therefore would not “promote

       judicial economy,” but would interfere with the “efficient administration of justice.”

       See Stetser, 165 N.C. App. at 12, 598 S.E.2d at 578-79; see also Stubhub, 219 N.C.

       App. at 232, 727 S.E.2d at 554.

¶ 29         The legislature set forth a statutory scheme to address constitutional

       challenges to statutes.    See N.C. Gen. Stat. § 1-267.1.       In brief, a trial court

       determines, either by statutory mandate or in its discretion, to transfer subject

       matter jurisdiction of a constitutional challenge to a three-judge panel in Wake

       County; upon transfer, the issue is within the jurisdiction of the three-judge panel.

       In granting Defendant’s petition for writ of certiorari, this Court will create precedent

       for a new procedure whereby a party that disagrees with a trial judge’s referral of a

       constitutional challenge to a three-judge panel can petition this Court for a writ of

       certiorari. In such an instance, this Court will be tasked with explaining why the

       raised constitutional challenge in the case currently before it is distinguishable from

       any future constitutional challenge. The precedent that flows from the majority’s

       opinion will create a dilemma in which any disagreement between the parties as to

       whether a constitutional challenge is “facial” or “as applied” will be decided by this
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                                      CARPENTER, J., dissenting



       Court, rather than by the three-judge panel prescribed by statute. The precedent

       established here therefore has the potential to eliminate the role of the statutory

       three-judge panel in future constitutional challenges.

¶ 30         This Court, by granting Defendant’s petition for writ of certiorari, will also

       unwittingly decide that multiple classes in fact exist for purposes of the

       constitutionality of N.C. Gen. Stat. § 1-17(e). To do so is to take a critical step in

       determining the ultimate outcome of the central issue of the case before the trial

       court. It would be prudent for this Court to refrain from exercising its jurisdiction to

       grant Defendant’s petition for writ of certiorari in favor of and in deference to the

       statutory scheme prescribed by the legislature in N.C. Gen. Stat. § 1-267.1.

¶ 31         Lastly, granting Defendant’s petition for writ of certiorari creates an avenue

       for a party to draw out litigation, contrary to our goal of promoting judicial economy.

       The majority’s grant incentivizes parties who wish to delay a trial on the merits of a

       case to petition this Court for a decision as to whether the referral of an issue to the

       three-judge panel was proper in every instance. The risk of the emergence of such

       unnecessary appeals is exaggerated by the majority’s declination to identify reasons

       for this case’s unique importance or necessity to the protection of the interests of

       justice. In the future, this Court should expect petitions for writ of certiorari arising

       from similar referrals to three-judge panels. When the petitions arrive, this Court

       will have no precedence on which we may rely to deny granting certiorari to hear a
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                                            2021-NCCOA-612

                                       CARPENTER, J., dissenting



       challenge to a superior court judge’s order transferring a constitutional challenge of

       a statute to a three-judge panel.

¶ 32         Because I would determine jurisdiction to decide the constitutional issue is

       proper before the three-judge panel in Wake County, I would deny Defendant’s

       petition for writ of certiorari. I therefore respectfully dissent.
